Case 3:23-cr-00055-DJH Document 30 Filed 12/13/23 Page 1 of 1 PageID #: 149




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                                 AT LOUISVILLE


 UNITED STATES OF AMERICA                                                        PLAINTIFF


 v.                                                         CASE NO. 3:23-CR-00055-DJH


 JOHN ANTHONY SCHMIDT                                                          DEFENDANT


                                    NOTICE OF FILING

        Comes the Defendant, JOHN ANTHONY SCHMIDT, by counsel, and submits the

 attached additional letter of support for his sentencing set for Thursday, January 4, 2023 at

 9:30 a.m.

                                                Respectfully Submitted,


                                                /s/ Patrick J. Renn
                                                Counsel for Defendant
                                                600 West Main Street, Suite 100
                                                Louisville, Kentucky 40202
                                                (502) 540-5700
                                                (502) 568-3600 (fax)
                                                prenn@600westmain.com


                               CERTIFICATE OF SERVICE

        I hereby certify that on December 13, 2023, I electronically filed with the Clerk of the
 Court by using the CM/ECF system, which will serve notice of electronic filing to all
 attorneys of record.

                                                /s/ Patrick J. Renn
                                                Counsel for Defendant
                                                600 West Main Street, Suite 100
                                                Louisville, Kentucky 40202
                                                (502) 540-5700
                                                (502) 568-3600 (fax)
                                                prenn@600westmain.com
